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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
       v.                          )      CRIMINAL ACTION NO.
                                   )        2:12cr57-MHT
JENIKA WILLIAMS                    )           (WO)

                                  ORDER

        Counsel for the government having orally informed

the court that she does not object, it is ORDERED that

defendant Jenika Williams’s motion to continue surrender

date    (doc.   No.   244)   is    granted     and   that   defendant

Williams is to surrender for service of her sentence at

the designated federal facility on or before 2:00 p.m. on

January 25, 2013.

       DONE, this the 27th day of December, 2012.



                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
